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                              UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11   VALERIE BOZOICH,                    )           NO. CV 16-5191-PA (AGR)
                                         )
12                            Plaintiff, )
                                         )           ORDER TO SHOW CAUSE
13               vs.                     )
                                         )
14   CAROLYN W. COLVIN, Commissioner )
     of Social Security Administration,  )
15                                       )
                              Defendant. )
16                                       )
17         Pursuant to the court’s order of July 22, 2016, Plaintiff was ordered to file proofs
18   of service showing compliance with Paragraph I of the order within 90 days of the
19   filing on the complaint, i.e., by October 20, 2016. The order warned Plaintiff that
20   failure to comply may result in dismissal of the case. To date, the proofs of service
21   have not been filed.
22         Accordingly, no later than November 21, 2016, Plaintiff is ordered to show
23   cause why this case should not be dismissed for failure to prosecute. Filing the proofs
24   of service by November 21, 2016, shall be deemed compliance with this Order to
25   Show Cause.
26
27   DATED: October 26, 2016
                                                     ALICIA G. ROSENBERG
28                                                 United States Magistrate Judge
